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United States Bankruptcy Court

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District Of Colo;rado_

 

In re Linda S. Russell

CaS€ NO. M

6163 Devil’s Head Court

Golden, Colorado 80403 Chapter 13

Last Four Digits of Social Security Number
8419

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NOTICE OF MOTION TO DISMISS
OBJECTION DEADLH\IE: NOVEMBER 29, 2013

YOU ARE HEREBY NOTIFIED that Linda Russell has filed a Motion to Dimsiss,
With the bankruptcy court and requests the following relief: In re Linda Russell, Case No. 13-
26l37-SBB be dismissed pursuant to ll U.S.C. § l307(b).

If you oppose the motion or object to the requested relief, your objection and request for
hearing must be filed on or before the objection deadline stated above, served on the movant at
the address indicated below, and must state clearly all objections and any legal basis for the
objection The court Will not consider general objections

In the absence of a timely, substantial objection and request for hearing by an interested
party, the court may approve or grant the requested relief Without any further notice to creditors
or other interested parties

 

Dated: l 1/22/2013 By: /s/Dustin J. Klein

Counsel to Linda Russell

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